 Case 4:23-cv-00830-O Document 47 Filed 09/22/23   Page 1 of 36 PageID 1186



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

NATIONAL ASSOCIATION FOR GUN              )
RIGHTS, INC., ET AL.,                     )
                                          )   Case No. 4:23-cv-00830-O
                  Plaintiffs,             )
      v.                                  )
                                          )
MERRICK GARLAND,                          )
IN HIS OFFICIAL CAPACITY AS               )
ATTORNEY GENERAL                          )
OF THE UNITED STATES, ET AL,              )
                                          )
                  Defendants.             )
__________________________________________)

              PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR
                       PRELIMINARY INJUNCTION
  Case 4:23-cv-00830-O Document 47 Filed 09/22/23                                               Page 2 of 36 PageID 1187



                                                    TABLE OF CONTENTS
I. Plaintiffs are likely to succeed on the merits because FRTs are not machineguns
   under the statutory definition and Fifth Circuit precedent. ........................................................ 1

   A. Rate of fire is irrelevant to machinegun classifications. ...................................................... 2

   B. Defendants’ proposed shooter-based standards for defining a machinegun
      conflict with the Fifth Circuit’s holding that the ‘function of the trigger’
      in a hammer-operated firearm is not defined by shooter actions. ........................................ 2

   C. The Fifth Circuit held in Cargill that a gun is not a machinegun if the trigger
      must release the hammer for every shot. ............................................................................. 7

   D. The FRT-15 is not a machinegun because it requires the trigger to release
      the hammer for every shot fired. .......................................................................................... 9

   E. Defendants mischaracterize the FRT-15’s operation to conclude it is a machinegun. ...... 10

        1.     The FRT-15 does not fire automatically with a single depression of the trigger. .......... 10

        2.     The FRT-15’s locking-bar does not serve the same function as an auto sear. ............... 10

        3.     Defendants’ zip tie test is flawed and misleading. ......................................................... 13

   F.        Defendants twist Cargill beyond recognition to support their case. .................................. 14

   G. Defendants’ comparison of FRTs to the Akins Accelerator and the Camp
      device fails because both devices work differently than FRTs in fundamental ways. ...... 17

II. Plaintiffs have standing. ........................................................................................................ 19

   A. The associational plaintiffs have standing. ........................................................................ 19

   B. Plaintiffs have standing to assert a pre-enforcement challenge. ........................................ 20

III. Plaintiffs face a threat of irreparable harm. ........................................................................... 24

IV. The balance of harms weighs in favor of a preliminary injunction. ...................................... 27

V. Defendants’ argument based on principles of equity would allow the government
   to arrest and prosecute citizens for actions that are not crimes. ............................................ 28

VI. Enjoining all applications of Defendants’ invalid interpretation is the appropriate
    remedy. .................................................................................................................................. 30




                                                                       ii
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                                           Page 3 of 36 PageID 1188



                                              TABLE OF AUTHORITIES
Cases
Abbott Laboratories v. Gardner,
  387 U.S. 136 (1967) ................................................................................................................. 29
Akins v. United States,
  312 F. App’x 197 (11th Cir. 2009)........................................................................................... 18
Aposhian v. Barr,
  958 F.3d 969 (10th Cir. 2020) .................................................................................................. 28
Brecht v. Abrahamson,
  507 U.S. 619 (1993) ................................................................................................................... 5
Cargill v. Garland,
  57 F.4th 447 (5th Cir. 2023).............................................................................................. passim
D.C. v. Heller,
  554 U.S. 570 (2008) ................................................................................................................... 5
Elrod v. Burns,
  427 U.S. 347 (1976) ................................................................................................................. 25
Fed. Election Comm’n v. Cruz,
  142 S.Ct. 1638 (2022) .............................................................................................................. 29
Franciscan Alliance, Inc. v. Becerra,
  47 F.4th 368 (5th Cir. 2022)......................................................................................... 21, 29, 30
Jarkesy v. SEC,
  34 F.4th 446 (5th Cir. 2022)..................................................................................................... 15
Legal Servs. Corp. v. Velazquez,
  531 U.S. 533 (2001) ............................................................................................................... 5, 6
MedImmune, Inc. v. Genentech, Inc.,
  549 U.S. 118 (2007) ........................................................................................................... 23, 24
Opulent Life Church v. City of Holy Springs,
  697 F.3d 279 (5th Cir. 2012) .................................................................................................... 25
Shaughnessy v. Pedreiro,
  349 U.S. 48 (1955) ................................................................................................................... 29



                                                                  iii
  Case 4:23-cv-00830-O Document 47 Filed 09/22/23                                               Page 4 of 36 PageID 1189



Speech First, Inc. v. Fenves,
    979 F.3d 319 (5th Cir. 2020) .................................................................................................... 21
Staples v. United States,
    511 U.S. 600 (1994) ............................................................................................................... 5, 6
Stolt-Nielsen, S.A. v. United States,
    442 F.3d 177 (3d Cir. 2006) ..................................................................................................... 28
Susan B. Anthony List v. Driehaus,
    573 U.S. 149 (2014) ........................................................................................................... 23, 24
United States v. Alkazahg,
    81 M.J. 764 (N-M. Ct. Crim. App. 2021) .............................................................................. 2, 3
United States v. Camp,
    343 F.3d 743 (5th Cir. 2003) ........................................................................................ 17, 18, 19
United States v. Jokel,
    969 F.2d 132 (5th Cir. 1992) ...................................................................................................... 7
United States v. Rare Breed Triggers, LLC,
    No. 23CV369NRMRML, 2023 WL 5689770 (E.D.N.Y. Aug. 1, 2023) ............................... 3, 5
VanDerStok v. Garland,
    625 F.Supp.3d 570 (N.D.Tex. Sept. 2, 2022) ..................................................................... 25, 26
Webster v. Fall,
    266 U.S. 507 (1924) ................................................................................................................... 5
Zimmerman v. City of Austin,
    881 F.3d 378 (5th Cir. 2008) .................................................................................................... 20

Statutes
26 U.S. Code § 5845 ....................................................................................................................... 4
5 U.S.C. § 702 ............................................................................................................................... 32
U.S. Code § 5845(b) ....................................................................................................................... 4




                                                                       iv
     Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 5 of 36 PageID 1190



         Plaintiffs are likely to succeed on the merits. They have standing, both as individuals and

associations. They face a threat of irreparable harm in the absence of a preliminary injunction.

The balance of harms favors the Plaintiffs. And the remedy is appropriate. Plaintiffs’ Motion for

Preliminary Injunction should be granted.


I.       Plaintiffs are likely to succeed on the merits because FRTs are not
         machineguns under the statutory definition and Fifth Circuit precedent.
         Plaintiffs are likely to succeed on the merits. Nothing in Defendants’ Opposition lessens

that probability. The central issue before the Court is whether FRTs are machineguns and there is

no dispute that the answer to this question is grounded in 26 U.S. Code § 5845, which defines a

“machinegun” as a device that enables a firearm to fire multiple shots automatically “by a single

function of the trigger.” 26 U.S. Code § 5845(b); PI Mot. at 4-5; Opp. at 3.

         In Cargill, the Fifth Circuit held that this definition of “a single function of the trigger” is

solely concerned with the mechanical operation of the trigger, not the actions of the gun user.

Cargill v. Garland, 57 F.4th 447, 460 (5th Cir. 2023). And the mechanical purpose of the trigger

in a hammer-fired gun is to release the hammer and cause a firearm to fire a shot. The trigger in

an FRT-15-equipped gun functions by the trigger moving rearward to cause the trigger to release

the hammer—and it must do this for every shot fired. By contrast, in a machinegun multiple

shots can be fired with a single function of the trigger. Because FRT-15s do not fire more than

one shot per single function of the trigger they are not machineguns. See PI Mot. at 9-12.

         To avoid the conclusion that FRTs are not machineguns, Defendants stubbornly ask this

Court to substitute a fabricated standard the Fifth Circuit rejected in Cargill just a few months

ago, engage in obfuscating word-play to evade the impact of the statute and Cargill with

ambiguous terms, make inapt analogies to other guns, and spotlight irrelevant aspects of FRTs

like the FRT-15 that have no bearing on whether they are a machinegun.

                                                    1
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 6 of 36 PageID 1191



   A. Rate of fire is irrelevant to machinegun classifications.

       Defendants’ focus on the FRT-15’s rate of fire is irrelevant. See Opp. at 4 & n. 3. Rate of

fire appears nowhere in the statutory definition of a machinegun and the Fifth Circuit has

rejected it as irrelevant to determining whether a device is a machinegun in Cargill: “Congress

did not use words describing the shooter’s perspective or the weapon’s rate of fire.” Cargill, 57

F.4th at 461; accord United States v. Alkazahg, 81 M.J. 764, 781 (N-M. Ct. Crim. App. 2021)

(“Congress could have suggested that a shooter-focused approach or even a rate-of-fire approach

was the way to read the statute by enacting those words.”). Indeed, the ATF has a history of

approving devices that increase a firearm’s rate of fire to the same extent as the FRT-15. Among

the products the ATF has approved are the Tac-Con 3MR trigger and binary triggers. These

devices enable a shooter to fire at similar speeds, yet the ATF approved them without a word

about their effect on rate of fire. See Oct. 31, 2013, letter from ATF approving the Tac-Con 3MR

trigger, App’x at 66-67; Nov. 20, 2013, letter from ATF approving the FosTech binary trigger,

App’x at 68. The law defines a machinegun by other standards.

   B. Defendants’ proposed shooter-based standards for defining a machinegun conflict
      with the Fifth Circuit’s holding that the ‘function of the trigger’ in a hammer-
      operated firearm is not defined by shooter actions.

       Defendants pay lip service to the statutory definition of a machinegun, but quickly pivot

to semantic games and artful re-interpretations of the statute. They contend that FRTs are

machineguns because “after a FRT is depressed, the firearm will ‘fire until the trigger is released,

the firearm malfunctions, or the firearm exhausts its ammunition supply.’” Opp. at 3. This

evolves to: “The dispositive question is thus whether a FRT allows the shooter to fire multiple

shots by depressing the trigger just once through a single constant rearward pull.” Opp. at 4.

Defendants’ use of words like “pull,” “release,” and “depress” gives the false impression that

FRTs can fire multiple rounds in the same way as a machinegun: i.e., by pulling the trigger back

                                                 2
  Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 7 of 36 PageID 1192



to release the hammer for the first shot and then holding it still (fixed in that rearward position)

while the firearm fires round after round without any further movement or action of the trigger.

To be clear, that assertion is categorically false.

        To make sense of the Opposition, we must first address Defendants’ chosen vocabulary

and its impact on their analysis. Defendants misleadingly use the word “pull” to obscure the

difference between (a) the mechanical movement of the trigger to its rearward position and (b) a

user merely exerting rearward pressure on the trigger, regardless of whether that pressure moves

the trigger; i.e., Defendants equate a “pull of the trigger” with a “pull on the trigger.” Opp. at 3-9.

This linguistic contortion is how Defendants conflate FRT-15s and machineguns as firearms that

both fire multiple rounds from a “single pull of the trigger.” Id. Defendants thereby gloss over

the fact that the trigger in an FRT-15 must move and function for every shot fired, driven by the

force applied by a user’s finger, see ECF No. 13-4 ¶ 15 (Declaration of Plaintiffs’ expert Daniel

O’Kelly, August 7, 2023) [“O’Kelly Decl.”], whereas a machinegun trigger moves rearward only

once to fire the first shot and stays there, unmoving and not functioning any further, while the

gun keeps firing due to an auto sear or similar component. O’Kelly Decl. ¶ 16; Tr. of Prelim. Inj.

Hr’g.177:25-178:6, United States v. Rare Breed Triggers, LLC, No. 23CV369NRMRML, 2023

WL 5689770 (E.D.N.Y. Aug. 1, 2023) [New York Hearing] [App’x at 81-82].

        Defendants’ repeated use of the words “depress” and “depression” is incorrect and

misleading. “Depress” means “to press down” or to “cause to sink to a lower position.” Depress,

Merriam-Webster, https://www.merriam-webster.com/dictionary/depress (last visited Sept. 20,

2023). “Depression” means “an act of depressing or a state of being depressed.” Depression,

Merriam-Webster, https://www.merriam-webster.com/dictionary/depression (last visited Sept.

20, 2023). Where Defendants use these words, they should mean that the trigger is moved to its



                                                      3
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 8 of 36 PageID 1193



rearward position and maintained there (in its “lower position” or remaining in a “state of being

depressed”), but Defendants instead use them as a synonym for “pull,” with the same

equivocation described above.

       This is reflected in Defendants’ misquotation of the ATF’s April 27, 2023, expert report

(ECF No. 13-9 at 15). Defendants cite the report as stating that the FRT-15 can fire multiple

rounds with “a single depression of the trigger.” Opp. at 5. But the ATF report’s actual language

never uses the word “depress,” and uses terms like “rearward pressure” and “single constant

pull” instead. As described in the Plaintiffs’ expert report, and as conceded by Defendants’

expert in his testimony in the New York case, the FRT-15 in fact malfunctions and ceases to

operate if the trigger is “depressed” and held unmoving. O’Kelly Decl. ¶ 38-40; New York

Hearing Tr. 178:24-179:8 [App’x at 82-83] (Cross of Government Expert Ciravolo: “Q. So

unlike the M16, the FRT-15 would not operate if the trigger were held in its most rearward

position and not allowed to move forward, right? A. Are you saying if the trigger was physically

held in the rearward position and did not move at all. Q. Was not allowed to move forward. A.

Yes, it would not function. It would actually cause the weapon to malfunction. Q. It would get

off one shot, would that be fair? A. Yes, it would.”). To be clear, an FRT-15’s trigger must be

depressed (moved to its rearward position) separately for each shot it fires—and Mr. Ciravolo

concedes that this is correct.

       Defendants similarly fixate on the concept of a trigger’s “release” to distract from the

actual test of what makes a device a machinegun under Cargill. They argue that FRT-15s are

machineguns because they allow a gun to fire repeatedly “without the trigger being released.”

Opp. at 6. This is deceptive because it implies that the trigger does not need to reset between

shots and can remain held in its rearward position as the firearm continues firing, as would be the



                                                 4
    Case 4:23-cv-00830-O Document 47 Filed 09/22/23                Page 9 of 36 PageID 1194



case in an actual machinegun. But the truth is that all that “releasing the trigger” does in a

traditional semiautomatic firearm is allow the trigger to be reset by a spring so it can retain the

hammer again; once the hammer is retained, the shooter can pull the trigger to release and fire

another shot. O’Kelly Decl. ¶¶ 11-12. With FRTs, the mechanical force of the spring is simply

replaced by a force generated by the mechanical operation of the gun. Specifically, the trigger

resets when it is forced forward by the bolt’s rearward movement, instead of resetting by the

push of a spring. Id. ¶ 12. Nevertheless, with both FRTs and traditional semiautomatic triggers,

the trigger must reset between shots to retain the hammer, and every subsequent shot is caused by

the trigger moving rearward to release the hammer. Id. ¶ 15; New York Hearing 178:4-179:25

[App’x at 82-83] (Cross of Government Expert Cirvavolo: “Q. Okay. So but for an FRT-15, the

trigger must move for every shot fired, right? A. Yes, that’s correct….Q. That means if you load

into and fire five rounds in an FRT-15, the trigger must move to its most rearward position five

times, right? A. Yes. Q. But if you load five rounds into an M16 machine gun and then hold the

trigger rearward without releasing it, you can fire all five rounds? A. Yes, that’s correct.”).

        Defendants’ misuse of these words is why their citation to Staples v. United States, 511

U.S. 600, 602 n.1 (1994) is unavailing.1 Opp. at 3. FRTs like the FRT-15 are not weapons which,



1
  Furthermore, the statutory definition of an automatic weapon was not before the Supreme Court
in Staples and, accordingly, its footnote on that issue does not constitute a holding of the
Supreme Court on that or any other issue. See, e.g., Webster v. Fall, 266 U.S. 507, 511 (1924)
(“Questions which merely lurk in the record, neither brought to the attention of the court nor
ruled upon, are not to be considered as having been so decided as to constitute precedents.”); see
also D.C. v. Heller, 554 U.S. 570, 625 n.25 (2008) (characterizing statement in previous decision
as “dictum” because “the point was not at issue and was not argued” and refusing to follow that
“dictum“); Brecht v. Abrahamson, 507 U.S. 619, 631 (1993) (“[S]ince we have never squarely
addressed the issue, and have at most assumed [it], we are free to address the issue on the
merits.”); Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 557 (2001) (Scalia, J., dissenting)
(explaining that “judicial decisions do not stand as binding ‘precedent’ for points that were not
raised, not argued, and hence not analyzed” and collecting cases).

                                                  5
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                    Page 10 of 36 PageID 1195



“once [the] trigger is depressed, [] will automatically continue to fire until [their] trigger is

released or the ammunition is exhausted” because each depression of an FRT-15’s trigger fires

only one bullet, and because the trigger must reset between each shot. Opp. at 3 (quoting Staples,

511 U.S. at 602 n.1). While Staples refers to “release” of the trigger in determining what is a

machinegun, this analysis is in a context where “releasing the trigger” and “resetting the trigger”

may have been synonymous terms and were inconsequential to the issue before the Court. See

generally O’Kelly Decl. ¶¶ 10-12. (explaining the difference between traditional spring-reset

triggers and forced-reset triggers). With FRTs, “release” and “reset” are not synonymous.

        By leaping from a “single function of the trigger” to “a single constant rearward pull,”

Defendants seek to transform the machinegun definition from a focus on objective trigger

mechanics required by the statutory text and Cargill to a focus on the subjective actions of the

gun user. But this is the same rewriting of the statute that the Government already tried with

bump stocks in Cargill only to have the Fifth Circuit emphatically reject it:

        The statutory definition of machinegun utilizes a grammatical construction that ties
        the definition to the movement of the trigger itself, and not the movement of a
        trigger finger. . .. The Government offers nothing to overcome this plain reading[.]
        . . . [T]he statutory definition of machinegun unambiguously turns on the movement
        of the trigger and not a trigger finger.
Cargill, 57 F. 4th at 460; PI Mot. at 9-11. “The statute does not care what human input is

required to activate the trigger—it cares only whether more than one shot is fired each time the

trigger acts.” Cargill, 57 F.4th at 460. Under Cargill, the Court not only does not need to look to

the shooter’s actions in deciding whether FRTs are machineguns, it cannot look to them because

“the notion that the definition turns on the actions of an unnamed shooter is inconsistent with

both the [the definition’s] grammatical and statutory contexts.” Id. at 461.

        Rejecting a shooter-action-based definition of the function of a trigger, the Fifth Circuit

held in Cargill that the function of the trigger is the “follow-on action where the trigger acts out

                                                   6
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                    Page 11 of 36 PageID 1196



its mechanical design or purpose” after the shooter has initiated it by some action. Cargill, 57

F.4th at 460 (agreeing with a definition quoted from Alkazahg, 81 M.J. at 780-81). Cargill leaves

no doubt that a trigger’s function under the statute is defined purely mechanically: “Congress did

not use words describing the shooter’s perspective or the weapon’s rate of fire .... Instead, it

made up an entirely new phrase — by a single function of the trigger — that specifically pertains

to the mechanics of a firearm. Prudent or not, Congress defined the term ‘machinegun’ by

reference to the trigger’s mechanics.” Id. at 461.

        As to the function of the trigger, the Fifth Circuit held that in a hammer-fired gun like the

AR-15 (which the FRT-15 was specifically designed for), the trigger’s function is to release the

hammer as part of a “simple mechanical process:”

        [T]he trigger disengages the hammer from the sear, the hammer strikes the firing
        pin, the bullet fires, and the recoil pushes the hammer against the disconnector,
        which resets the trigger. This process happens every single time one bullet is fired.
Id. at 459. Prior to Cargill, the Fifth Circuit described the role of the trigger in a hammer-fired

weapon similarly, as “the part of the action of a firearm moved by the finger to release the

hammer … in firing.” United States v. Jokel, 969 F.2d 132, 134 (5th Cir. 1992) (emphasis added).

        Accordingly, this Court should reject Defendants’ re-assertion of an extra-statutory

standard for defining a machinegun, the user-experience-based “single constant rearward pull,”

or any of its similar variants, that the Fifth Circuit has already considered and foreclosed.

    C. The Fifth Circuit held in Cargill that a gun is not a machinegun if the trigger must
       release the hammer for every shot.
        As the trigger’s function in a rifle like the AR-15 is to release the hammer, these firearms

are semiautomatic because the trigger must function by “disengag[ing] the hammer from the

sear” so it can strike the firing pin and fire a round “every single time [a] bullet is fired.” Cargill,

57 F.4th at 459; PI Mot. at 11. By contrast, a “fully automatic gun” (i.e., a machinegun) “is



                                                   7
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 12 of 36 PageID 1197



equipped with something called an ‘auto sear’ — a device that serves to re-cock and release the

hammer in tandem with the motion of the bolt for so long as the trigger remains depressed.”

Cargill, 57 F.4th at 454. Because of the auto sear, the trigger in a machinegun functions only

once in a string of automatic fire: when it releases the hammer for the first shot. See O’Kelly

Decl. ¶ 16; New York Hearing 177:25-178:3 [App’x at 81-82]. After that, the auto sear takes over

to retain and release the hammer for all subsequent shots. See PI Mot. at 3-4; ECF. No. 13-4 ¶

16; New York Hearing 177:22-178:9 [App’x at 81-82] (Cross of Government expert Ciravolo:

“Q. Let’s review your comparison of the FRT-15 to an M16. An MS16 [sic] machine gun has a

part called an auto sear, right? A. Yes. Q. And the auto sear can repeatedly release the hammer to

fire multiple shots without the trigger moving after the first pull, right? A. Yes. Q. That’s

different from the FRT-15 where the trigger movement is required for every shot fired, right? A.

Yes. It’s different in how it interacts with the hammer. Q. Okay. So but for the FRT-15, the

trigger must move for every shot fired, right? A. Yes, that’s correct.”).

       In Cargill, the Fifth Circuit applied this standard to find that bump stocks were not

machinegun conversion devices because they did not change a semiautomatic firearm’s need for

the trigger to release the hammer to fire a shot and then reset to retain the hammer again before

firing the next shot: “To be sure, a non-mechanical bump stock increases the rate at which the

process occurs. But the fact remains that only one bullet is fired each time the shooter pulls the

trigger.” Cargill, 57 F.4th at 459.

       Under this same test—which under Cargill is the necessary result of the applicable

statutory definition of a machinegun and therefore must be applied here rather than the “single

constant rearward pull” standard or any of its variants that Defendants stubbornly insist on

trotting out—the FRT-15 is not a machinegun because every shot requires a separate function of



                                                  8
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 13 of 36 PageID 1198



the trigger, i.e. a release of the hammer to fire a shot and then reset to retain the hammer again

before the next shot can be fired.

   D. The FRT-15 is not a machinegun because it requires the trigger to release the hammer
      for every shot fired.
       Because they insist on substituting their own definition for the one found in the statue and

ignoring the Fifth Circuit’s holding in Cargill, Opp. at 3-4, Defendants never engage in the

required analysis to properly assess the FRT-15.

       As shown above, Cargill teaches that if a gun’s trigger must function, that is, release the

hammer, for every shot fired, then it is not a machinegun under the statute. In an FRT, the trigger

must move rearward to release the hammer for every shot fired. PI Mot. at 11 (including video at

https://dhillonlaw.box.com/s/83pwi4a97id478f1nv31rv05okda2ccd); Declaration of Cole Leleux

-13; App’x at 11-13; O’Kelly Decl. ¶ 15; New York Hearing 178:4-25 [App’x at 82].

Consequently, the FRT-15 is not a machinegun.

       At the evidentiary hearing on the government’s motion for preliminary injunction in the

New York case, the Government’s expert, Ciravolo, agreed that, for an FRT-15, “the trigger must

move for every shot fired,” that “the hammer is captured by the trigger sear for each round

fired,” and that “if you load [] and fire five rounds in an FRT-15, the trigger must move to its

most rearward position five times.” New York Hearing 178:4-19 [App’x at 82]. He further agreed

that a machinegun like the M16 works differently from an FRT because the machinegun’s

“hammer is not captured by the trigger sear for each round fired” and “if you load five rounds

into an M16 machinegun and then hold the trigger rearward without releasing it, you can fire all

five rounds,” whereas if you tried that with an FRT-15 and prevented the trigger from resetting,

“it would not function” and doing this “would actually cause the weapon to malfunction.” Id.

178:13-179:8 [App’x at 82-83].


                                                   9
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 14 of 36 PageID 1199



       In other words, Defendants’ own expert effectively conceded that the FRT-15 does not

meet the test for a machinegun under Cargill. And his concession was unavoidable; each shot

requires a separate function of the trigger.

   E. Defendants mischaracterize the FRT-15’s operation to conclude it is a machinegun.
       In addition to asking this Court to adopt the user-action-based definition of a machinegun

that Cargill expressly rejected, Defendants also mischaracterize the operation of the FRT-15.

   1. The FRT-15 does not fire automatically with a single depression of the trigger.
       Defendants assert “that firearms equipped with FRTs are machineguns because they fire

automatically with a single constant depression of the trigger.” Opp. at 5. This is flatly false.

Between every shot, the FRT-15 resets the trigger to its starting position, momentarily locking it

in that position, before the trigger must be moved rearward anew (by the shooter, not the FRT-

15) to cause the trigger to release the hammer again and fire another shot. O’Kelly Decl. ¶ 25.

       It is not, as with a machinegun, that the user of an FRT-15 simply holds the trigger back,

in place, causing the trigger to function just once while the gun automatically fires subsequent

shots without any mechanical action by the trigger or movement of the trigger. New York

Hearing 177:22-179:6 [App’x at 81-83]. As noted above, in a machinegun a part called the auto

sear (or its equivalent) takes over from the trigger to retain and release the hammer for every shot

after the first. O’Kelly Decl. ¶ 16; New York Hearing 177:25-178:9 [App’x at 81-82]. An FRT-15

has no auto sear.

       Because the FRT-15 trigger moves forward to its reset position and is stopped there,

requiring it to be moved rearward again by the user for the next shot, it is misleading to describe

this operation of the FRT as a “single constant depression of the trigger,” or even a “single pull

of the trigger.” See O’Kelly Decl. ¶ 25; see also supra discussion of “depression” and “pull.”

   2. The FRT-15’s locking-bar does not serve the same function as an auto sear.


                                                 10
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 15 of 36 PageID 1200



       Defendants misleadingly contend that the FRT-15 was not only designed to fire multiple

shots “with a single function (pull) of the trigger” but also that its patent (U.S. Patent No.

10,514,223 B1) states “that the ‘locking bar’ in a FRT serves the same function as an automatic

sear in a typical machinegun to facilitate continuous firing,” and “the FRT uses the firing

sequence to automatically reset itself along with the locking bar to lock and then automatically

time the re-release of the hammer so that as soon as the bolt locks into battery the next round will

automatically be fired.” Opp. at 9 (citing ECF No. 13-9 at 5 (Ciravolo’s April 27, 2023 report on

the FRT-15) [“Ciravolo Report”] (internal citation omitted) (emphasis added)). The Defendants

offer no specific cite to or quote from the patent. This is because the statement is false. These

claims suggest that the FRT-15 automatically causes the hammer to be released again without the

shooter moving the trigger rearward. This false claim takes the already misleading language in

the Ciravolo Report and twists it further with significant omissions.

       Ciravolo’s Report states that the FRT-15’s locking-bar serves as an auto sear because it is

used to “capture a fire control component [i.e., the trigger] until the additional surface on an

M16-type bolt carrier contacts it and releases the fire control component to automatically fire a

subsequent shot.” Ciravolo Report at 5. The assertion that the locking bar releases the trigger “to

automatically fire a subsequent shot” is false. Unlike a machinegun, there is no mechanism in an

FRT-15 by which the gun automatically fires a subsequent shot without a new function/

movement of the trigger powered by the user, as Ciravolo’s Report concedes on the same page.

       Defendants’ baseless assertion that the FRT-15’s patent states that the locking bar

facilitates “continuous firing” just like the automatic sear in a machinegun is refuted by the very

source they cite for this claim: Ciravolo’s Report. That report includes an excerpt from the patent

that states (albeit, in technical language) that the locking-bar’s purpose is to block the trigger



                                                  11
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 16 of 36 PageID 1201



from moving until it is disengaged from the trigger by the bolt returning to its ready-to-fire

position, after which the trigger can be moved by an “external force” to release the hammer. Id.

All this excerpt from the patent means is that the shooter’s finger (the “external force”) moves

the trigger to release the hammer again after the locking-bar unlocks it. Id.

       Thus, there is nothing in the patent that supports the suggestion that the locking bar works

like a machinegun’s auto sear to let the gun fire automatically and continuously with a single

function of the trigger. Defendants’ claim is all the more audacious for omitting Ciravolo’s

statement that an “external force” (the shooter’s finger) causes the FRT-15 to fire again. In

addition to Ciravolo’s Report contradicting Defendants’ claim, he also conceded in New York

that the operation of a machinegun with an auto sear is “different from the FRT-15, where the

trigger movement is required for every shot fired.” New York Hearing 178:4-9 [App’x at 82].

       Contrary to Defendants’ claims, the FRT-15’s locking-bar does not serve as an auto sear

because it does not perform an auto sear’s functions. All that it does is prevent the shooter from

moving the trigger before the bolt is back in place and the weapon is safe to fire. O’Kelly Decl. ¶

16. Unlike an auto sear, the locking-bar does not 1) retain the hammer, 2) release the hammer, or

3) fire the weapon. Id. ¶¶ 26-28. Though the Government tries to portray the locking-bar as firing

the weapon automatically once it unlocks the trigger (Opp. at 9-10), this is not possible because

the trigger remains still after the locking-bar unlocks the trigger. Id. ¶¶ 25-28. The only force that

would act on the trigger at this point to move it rearward and release the hammer would be the

shooter’s finger. Id. ¶ 28. Ciravolo admitted this directly in New York, agreeing that the only

force that ever moves the trigger rearward to release the hammer in an FRT-15 comes from the

shooter’s finger. New York Hearing, 171:18-172:15 [App’x at 75-76].

       Because the locking-bar does not cause the hammer to be released or otherwise take over



                                                 12
    Case 4:23-cv-00830-O Document 47 Filed 09/22/23                               Page 17 of 36 PageID 1202



any of the functions of the trigger, Defendants’ claim that it serves the same function as an auto

sear is entirely incorrect and obviously so.

      3. Defendants’ zip tie test is flawed and misleading.
         Defendants point to the so-called zip tie test as evidence that FRT-15s fire with “a single

constant depression of the trigger.” Opp. at 5-6. But that test is flawed and its result deceptive. In

a machinegun, a trigger must be held in in its rearmost position for the gun to continue to fire

automatically. O’Kelly Decl. ¶ 16; New York Hearing 178:20-179:5 [App’x at 82-83]. A

machinegun trigger does not reset in between each shot. O’Kelly Decl. ¶ 16; New York Hearing

178:13-23 [App’x at 82]. An FRT-15, like every non-machinegun semiautomatic gun must reset

in between each shot. O’Kelly Decl. ¶ 15; New York Hearing 178:4-19 [App’x at 82]. If a user

were to hold the trigger of an FRT-15 still in its most rearward position, and not let the trigger

reset, then it would malfunction. O’Kelly Decl. ¶¶ 38, 40; New York Hearing 178:24-179:6

[App’x at 82-83].

         Defendants’ zip tie test does not hold the FRT trigger still in its most rearward position,

as would be the equivalent position of the trigger in a machinegun. O’Kelly Decl. ¶¶ 37-38. The

zip tie in the test also does not cause multiple shots to be fired by maintaining “a single constant

depression” of the trigger, as Defendants claim. Instead, it causes multiple shots to fire by

moving the trigger sufficiently rearward to cause the trigger to release the hammer, after which

the FRT-15 applies forward force to reset the trigger by moving it to its original position, which

the zip tie allows due its elasticity. Id. After the FRT-15 forces the trigger and zip tie forward, it

locks the trigger in its reset position, and then unlocks the trigger; the elastic zip tie is under

strain from being stretched2 by the trigger’s forward movement and therefore is able to re-apply


2
 The “elasticity” of the zip tie is not a stretching of its length, but rather results from a relatively stiff material being
pulled into a loop that stretches from a circle to an oval and back again. O’Kelly Decl. ¶ 37.

                                                             13
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                      Page 18 of 36 PageID 1203



sufficient pressure after the trigger is unlocked to move the trigger back far enough to release the

hammer and fire another round. Id. What we observe in the zip tie test is a singular function of

the zip tie’s elasticity; not a single function of the trigger. Id.

        If the zip ties were secured tightly enough that the trigger were fully held in place in its

rearward position—equivalent to how a machinegun trigger is held back while it fires—the

weapon would malfunction, just as Ciravolo admitted in his testimony in the New York case.

New York Hearing 178:24-179:6 [App’x at 82-83]; O’Kelly Decl. ¶ 40.

        In any event, Defendants’ fixation on the user’s (or zip tie’s) amount and constancy of

force is simply irrelevant to the test established by Congress in the statute as correctly interpreted

by the Fifth Circuit in Cargill.

    F. Defendants twist Cargill beyond recognition to support their case.
        Incredibly, Defendants claim that Cargill actually supports finding that FRTs are

machineguns. See Opp. at 7-9. They quote Cargill’s analysis of whether bump stocks are

automatic to incorrectly contend that an FRT-15, unlike the bump stock at issue in Cargill, is

automatic because an FRT-15 allegedly does not require additional manual input to keep firing.

Id. This argument fails for two reasons. Opp. at 8.

        First, under Cargill, a device is a machinegun only if it enables a firearm to fire multiple

rounds both 1) automatically and 2) by a single function of the trigger. 57 F.4th at 462. Both

elements are necessary, and the Fifth Circuit determined that it could find non-mechanical bump

stocks were not machineguns under either element. Id. (“Even if a non-mechanical bump stock

caused a semiautomatic rifle to operate by a single function of the trigger, the rifle would still

need to operate automatically in order to be a machinegun.”). The Fifth Circuit was clear that its

conclusions regarding both elements were independent of one another and each was binding:



                                                    14
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 19 of 36 PageID 1204



       As explained above, because a semi-automatic firearm equipped with a non-
       mechanical bump stock does not operate “by a single function of the trigger,” such
       a weapon is not a machinegun, and we must render judgment for Cargill. Our
       conclusions in Parts III.B and V are each independent, alternative holdings. In the
       Fifth Circuit, “alternative holdings are binding precedent and not obiter dictum.”
Cargill, 57 F.4th at 462 n.9 (quoting Jarkesy v. SEC, 34 F.4th 446, 459 n.9 (5th Cir. 2022)).

Accordingly, even a finding that FRT’s fired automatically is not enough for them to be

machineguns unless they also fire multiple rounds by a single function of the trigger, which is

addressed above and in the Plaintiff’s Motion. PI Mot. at 10-11.

       Second, FRTs are not automatic. For each function of the trigger, which fires only one

shot, the trigger must move rearward after being reset to its forward and ready position, which

even Defendants’ expert concedes. New York Hearing 178:4-179:6 [App’x at 82-83]; see

O’Kelly Decl. ¶ 15. No mechanical force automatically moves the trigger rearward to fire

another shot. New York Hearing 172:4-15 [App’x at 76]; see O’Kelly Decl. ¶ 15. Only force

supplied by the user’s finger moves the trigger rearward for each shot after each time the trigger

is reset. New York Hearing 172:4-15 [App’x at 76]; O’Kelly Decl. ¶ 15. That is, the user’s

manual input, unaided by any operation of the FRT-15, is required to move the trigger rearward

again to fire each shot. The FRT-15 is, thus, not automatic.

       Similarly, Defendants improperly rely on Cargill’s statements that “the act of pulling and

holding the trigger is one function, and that function produces more than one shot,” and “that

force must be maintained on the trigger does not change this conclusion.” Opp. at 9 (quoting

Cargill, 57 F.4th at 463 (emphasis added)). In the quoted passage, the court was answering the

government’s protest that the court’s holding “prove[d] too much” and would produce the absurd

result that a traditional automatic rifle (for which “the shooter must pull and hold the trigger to

fire more than one round”) could not be considered a machinegun. Cargill, 57 F.4th at 463. The

Court addressed this concern by explaining that traditional automatic rifles would still be

                                                 15
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                    Page 20 of 36 PageID 1205



considered machineguns under its holding because the act of holding the trigger in place (that is

at its rearward position) after it has been depressed to release the hammer is all one function of

the trigger. Id. The court was not referring to simply holding pressure on the trigger itself

regardless of whether the trigger moved, as Defendants now suggest the court meant.

       In context, the court’s description of “pulling and holding the trigger” refers to moving

the trigger to its rearward position and holding it there without allowing it to move. As already

noted, in an FRT, “pulling and holding the trigger” in its rearward position will cause the gun to

malfunction, not to fire multiple shots. O’Kelly Decl. ¶¶ 38, 40; New York Hearing 178:24-179:6

[App’x at 82-83]. Defendants’ misquotation of the decision is just a repetition of the same “pull

on the trigger” vs “pull of the trigger” equivocation that they use elsewhere to misleadingly

conflate how FRTs work with how machineguns work.

       Defendants’ suggested reading of the court’s statement not only defies the clear meaning

of the statement in context, but it also directly conflicts with the court’s central holding in part

III(A) of Cargill: the only question when evaluating whether a firearm fires multiple rounds by a

single function of the trigger is whether the trigger moves and acts; not what the shooter is doing.

       Finally, Defendants misrepresent Cargill’s statements about how it might hypothetically

analyze mechanical bump stocks, a different device not before the court. Opp. at 8-9. In short, a

mechanical bump stock is similar device to the bump stocks at issue in Cargill, but they obviate

the need for the shooter to push forward on the firearm with his supporting hand to engage in bump

fire because they use a system of springs to exert the necessary forward pressure instead. Cargill,

57 F.4th at 455. Defendants claim that the Fifth Circuit “recognized that the outcome would have

been different if it were considering a mechanical bump stock that only required the shooter ‘pull

the trigger once to activate the firing sequence’ such that the mechanical bump stock then



                                                  16
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                    Page 21 of 36 PageID 1206



maintained the bump fire of its own accord.’” Opp. at 8 (quoting Cargill, 57 F.4th at 462 n.8)

(emphasis added). This is not accurate. The Fifth Circuit merely recognized that the only issue

before it was whether non-mechanical bump stocks were machineguns, and that the outcome could

differ for a mechanical bump stock depending on how it worked. “[T]he case might well be

different if we were considering a semiautomatic weapon equipped with a mechanical bump stock.

It could be the case that a switch activating a mechanical bump stock would be the legal trigger.

But we are not considering that case.” Cargill, 57 F.4th at 462 (emphasis added). In other words,

a device that allows the user to press a switch once to cause a gun to fire multiple shots could be a

machinegun, depending on its design, because that switch could be considered the trigger.

        To state the obvious, there is no comparison between such a device and FRTs, for which a

trigger must function by moving rearward for each shot to be fired and does so solely by the

force of the user’s finger — like any other semiautomatic rifle or pistol — not automatically by a

self-perpetuating spring system set in motion by a switch.

    G. Defendants’ comparison of FRTs to the Akins Accelerator and the Camp device fails
       because both devices work differently than FRTs in fundamental ways.
        Defendants also compare the FRT-15 and the Fifth Circuit’s statements about the Akins

Accelerator, a mechanical bump stock. Opp. at 8-9. This argument is unavailing because the

court’s description of the Akins Accelerator indicates it understood the device as a secondary

trigger that replaced the role of the original trigger, similar to the device in United States v.

Camp, 343 F.3d 743 (5th Cir. 2003), and that it excluded the Akins Accelerator from its holding

on that basis. See Cargill, 57 F.4th at 462 n.8. In that section of the opinion, the court mentioned

that Camp did not apply to its analysis of non-mechanical bump stocks because “the definition of

‘trigger’ [was] not in dispute” between the parties. Id. at 462. The court indicated it considered

the Akins Accelerator to be similar to the Camp device because it placed the footnote mentioning


                                                  17
    Case 4:23-cv-00830-O Document 47 Filed 09/22/23                Page 22 of 36 PageID 1207



that the Akins Accelerator is excluded from its holding at the end of its explanation that “[i]t

could be the case that a switch activating a mechanical bump stock would be the legal trigger[,]

[b]ut we are not considering that case.” Id. The Court intended the Akins Accelerator as an

example of the kind of mechanical bump stock that has a switch for initiating bump fire that

would be considered the “legal trigger.”

        In United States v. Camp, 343 F.3d 743 (5th Cir. 2003), the device at issue was an electric

motor added onto the firearm and was switch-operated. Camp, 343 F.3d at 744. When the shooter

activated the switch once, the motor would act on the firearm’s original trigger and cause it to

function repeatedly, automatically firing the gun repeatedly without any further function of the

switch. Id. The switch legally became the trigger because of this. Id. at 744-45. The Fifth Circuit

determined that this device was a machinegun because the motor’s switch served as the new

trigger for the firearm and it required only one function of the switch/new trigger to make the

firearm fire multiple rounds automatically. Id. at 745. The Camp Court contrasted that electric

device with legal “trigger activators,” devices that push the trigger toward its reset position,

which the testifying ATF agent described as “require[ing] a user to separately pull the activator

each time the weapon is fired.” Id.

        Defendants claim these devices are relevant because they were determined to be

machineguns3 despite the original trigger moving back and forth for every shot the firearm fired.


3
  The Eleventh Circuit determined the Akins Accelerator was a machinegun in an unpublished
opinion. Akins v. United States, 312 F. App’x 197, 200 (11th Cir. 2009). The Eleventh Circuit’s
analysis does not extend past the determination that the device was a machinegun because it
allowed a gun to shoot multiple rounds “[a]fter a single application of the trigger by a gunman.”
Akins, 312 F. App’x at 200. Because the Eleventh Circuit did not describe or analyze the Akins
Accelerator’s operation in detail, it is not clear if the Eleventh Circuit’s decision conflicts with or
agrees with the Fifth Circuit’s holding in Cargill. In Cargill, the Fifth Circuit neither agreed nor
disagreed with the Eleventh Circuit’s finding, it only stated that its decision did not apply to the
Akins Accelerator because it was a mechanical bump stock that worked by different principles
from the non-mechanical bump stocks under consideration. 57 F.4th at 462 n.8.
                                                  18
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 23 of 36 PageID 1208



Opp. at 7-8. But this argument ignores that the “trigger” for all relevant purposes after these

devices were installed was the new “switch,” not the physical trigger on the firearm. Camp, 343

F.3d at 745; Cargill, 57 F.4th at 462.

         Thus, Defendants’ comparison of these devices with FRTs falls flat. Unlike these devices,

FRTs are the one and only trigger in the gun, they are the only thing the shooter interacts with to

make the gun fire, and they perform the same mechanical function as any normal trigger: they

release the hammer when moved rearward far enough by the shooter’s finger. Because, like in

Cargill, “the definition of ‘trigger’ is not in dispute,” Defendants’ comparison to these other

devices is unavailing. See Cargill, 57 F.4th at 462.

II.      Plaintiffs have standing.
         In addition to raising a longer (but meritless) defense of their claim that FRTs are

appropriately classified as machineguns, Defendants claim Plaintiffs lack standing. This argument

also fails. The National Association for Gun Rights and Texas Gun Rights have associational

standing because at least one of their members has standing to sue in their own right. Moreover,

all Plaintiffs have standing to bring a pre-enforcement challenge.

      A. The associational plaintiffs have standing.
         The National Association for Gun Rights and Texas Gun Rights (collectively,

“Associational Plaintiffs”) each have associational standing because at least one of their members

has standing to sue in his or her own right.

         Patrick Carey, Travis Speegle, and J.R. Wheeler (collectively, “Individual Plaintiffs”) are

all members of both the National Association for Gun Rights and Texas Gun Rights. See

Supplemental Declaration of Patrick Carey, App’x at 106; Supplemental Declaration of Travis

Speegle, App’x at 107; Supplemental Declaration of J.R. Wheeler, App’x at 105; Declaration of

Ryan Flugaur, App’x at 94. As this Court described in its August 30 Order, these individual

                                                 19
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 24 of 36 PageID 1209



Plaintiffs have standing. ECF No. 36 at 7-9. As set forth more fully below, see infra at 23-27,

nothing in Defendant’s Opposition contradicts the facts the Court relied upon in its August 30

determination.

       In addition, at least three other National Association of Gun Rights members have reported

receiving warning letters from Defendants, including one in the Northern District of Texas.

Declaration of Ryan Flugaur, App’x at 94; Declarations of other NAGR Members, App’x at 85-

93, 95-98, 101-04. Defendants are well aware that they are actively enforcing their incorrect

interpretation of the law, including by seizing forced reset triggers and sending “warning letters”

threatening criminal prosecution. Their attempts to minimize these actions or suggest they are

limited to a single plaintiff, Mr. Carey, are disingenuous.

       At least one member of each group has standing to pursue the claims asserted in his or her

own right. Three are doing just that in this case, along with the Associational Plaintiffs. The

Associational Plaintiffs have standing.

   B. Plaintiffs have standing to assert a pre-enforcement challenge.
       Defendants next claim that the individual plaintiffs lack standing to bring a pre-

enforcement challenge. This argument is largely a re-tread of Defendants’ failed arguments in

opposition to Plaintiffs’ motion for a temporary restraining order and should fail for the same

reasons. Nothing in Defendants’ Opposition brief changes the operative facts:

       It is still undisputed that the individual Plaintiffs are still engaging in or intend to engage

in conduct that Defendants contend is illegal. See generally Franciscan Alliance, 47 F.4th at 377

(distinguishing Zimmerman v. City of Austin, 881 F.3d 378, 389 (5th Cir. 2008) by observing, “[i]n

Zimmerman v. City of Austin the plaintiff lacked standing because he failed to show ‘a serious

intention to engage in conduct proscribed by law.’”).

       Defendants’ interpretation is far from moribund; they are still actively pursuing multiple

                                                 20
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 25 of 36 PageID 1210



criminal prosecutions based on their erroneous interpretation of the law, have specifically

threatened at least one named Plaintiff with enforcement actions, see Declaration of Patrick Carey,

App’x at 6-8, and have explicitly threatened at least one or more other members of both

associational plaintiffs with prosecution. See Declaration of Ryan Flugaur, App’x at 94;

Declaration of Chris McNutt, App’x at 99-100; Declaration of John Kordenbrock, App’x at 85-

89; Declaration of Lance Benton, App’x at 90-93; Declaration of Lane Watkins, App’x at 95-98;

Declaration of William Carey, App’x at 101-104; Supplemental Declaration of J.R. Wheeler,

App’x at 105; Supplemental Declaration of Travis Speegle, App’x at 107; see also Speech First,

Inc. v. Fenves, 979 F.3d 319, 336-37 (5th Cir. 2020) (“Where the policy remains non-moribund,

the claim is that the policy causes self-censorship among those who are subject to it, and the

students’ speech is arguably regulated by the policy, there is standing.”).

       Defendants are also still engaging in a “flurry of recent enforcement activity,” including

seizing at least three additional forced reset triggers since the Court’s August 30 Order. See Bureau

of Alcohol, Tobacco, Firearms, and Explosives Official Notice Posted September 21, 2023, App’x

at 69-71. Tellingly, Defendants have still refused to disavow enforcement against the individual

Plaintiffs, instead emphasizing their “current intention”—an intention that is undercut by

Defendants’ own speculative and unsupported claim that “Individual Plaintiffs cannot guarantee .

. . that their ownership of [forced reset triggers] will not, in the future, create public safety risks

that would warrant action by the government.” Opp. at 19. Defendants’ representations about their

“current intention” are not worth the paper they are printed on because, as Defendants candidly

acknowledge, they could change their mind at any time. What the Court found on August 30 is

still true today: this is “the exact type of ‘prosecutorial indecision’ that the Fifth Circuit has

‘repeatedly held’ as more than enough to ‘have standing.’” ECF 36 at 9 (quoting Franciscan



                                                  21
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                 Page 26 of 36 PageID 1211



Alliance, Inc. v. Becerra, 47 F.4th 368, 376 (5th Cir. 2022)).

       Moreover, the Individual Plaintiffs are not the only National Association of Gun Rights

members who face a credible threat of prosecution. At least three other National Association of

Gun Rights members have reported receiving warning letters from Defendants, including one in

the Northern District of Texas. Declaration of Ryan Flugaur, App’x at 94. Defendants have

provided no specific representations about their “current intentions” with respect to these other

National Association for Gun Rights members, let alone a hard and fast disavowal of enforcement.

       Defendants are still prosecuting at least three individuals for possessing forced reset

triggers. This undermines—if not flatly contradicts—Defendants’ claim of a “historic practice of

focusing enforcement efforts on major manufacturers and distributors of FRTs” rather than

“undertak[ing] criminal action against … small-scale-owners.” Opp. at 11.

       Defendants try to distinguish these cases by observing Defendants also brought other gun

charges against those individuals. See Opp. at 14. However, Defendants immediately render this

distinction meaningless by their speculative and unsupported assertion that “Individual Plaintiffs

… cannot guarantee that they will not in the future violate other gun laws that heighten concerns

about the risks posed by their continued possession of a FRT—as was true in the handful of

criminal prosecutions in which the government brought charges … related to possession of FRTs.”

Opp. at 19-20. Once again, Defendants’ representations about their “current intentions” are

meaningless because Defendants reserve the right to change their minds at any time. If Defendants

themselves cannot “guarantee” that Defendants will not view the Individual Plaintiffs as similarly

situated to other individuals Defendants have prosecuted, how can the Individual Plaintiffs or the

Court take any solace in Defendants’ purported distinctions?

       Plaintiffs have standing.



                                                22
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 27 of 36 PageID 1212



       To avoid this conclusion, Defendants seek to subtly shift the standard by effectively

conflating standing with irreparable injury. For example, Defendants focus on “the specter of

imminent enforcement.” Opp. at 15 (emphasis added). But this is not the standard for assessing

standing. Standing requires only a credible threat of enforcement, not an imminent threat. See

generally Susan B. Anthony List v. Driehaus, 573 U.S. 149, 164-167 (2014).

       Defendants’ standing arguments would effectively eliminate the prospect of pre-

enforcement review and leave the American people at the mercy of prosecutorial whim.

       First, Defendants’ novel “imminence” theory would effectively force potential Plaintiffs to

violate a law before having standing. After all, how can enforcement be “imminent” if a potential

violation has not yet occurred? The Supreme Court has squarely addressed Defendants’ argument

and rejected it for just this reason, stating “[t]he plaintiff's own action (or inaction) in failing to

violate the law eliminates the imminent threat of prosecution, but nonetheless does not eliminate

Article III jurisdiction.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129 (2007).

       Second, how could a prospective Plaintiff possibly know that an enforcement action is

“imminent”? Potential plaintiffs are not privy to the internal deliberations of government agencies.

They have no reasonable way of determining when a credible threat of enforcement becomes

imminent, and are not required to under the law. While the ATF may issue warning letters, it is

not legally obligated to do so and does not do so in all cases. Most federal agencies do not.

       Furthermore, what qualifies as “imminent”? Would Plaintiffs have to wait for police to be

suiting up in their front yard, readying an armed squad to smash down their doors and expose them

to state-sponsored violence, in order to bring a pre-enforcement challenge? To ask the question is

to answer it.

       It is well-settled that “where threatened action by the government is concerned, we do not



                                                  23
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 28 of 36 PageID 1213



require a plaintiff to expose himself to liability before bringing a suit to challenge the basis of the

threat.” MedImmune, 549 U.S. at 128-29; see also Susan B. Anthony List, 573 U.S. at 158 (“When

an individual is subject to such a threat [of enforcement of a law], an actual arrest, prosecution, or

other enforcement action is not a prerequisite to challenging the law.”).

       Standing is broader than just the preliminary injunction motion. It is a fundamental

predicate to opening the courthouse doors that Defendants would have this Court bar to them based

solely on ephemeral representations of their current mood towards three individual plaintiffs. This

is not and cannot be correct.

III.   Plaintiffs face a threat of irreparable harm.
       First, as the Court found in its August 30 Order and as further described above, Plaintiffs

continue to face a credible threat of prosecution that “constitutes more than a de minimis harm

justifying the need for equitable protection.” ECF 36 at 18. Plaintiffs’ current and proposed

conduct violates the law as Defendants would interpret it. The law is not moribund; Defendants

are actively enforcing it around the country. And Defendants have specifically threatened

enforcement against one named Individual Plaintiff and three additional members of the

Associational Plaintiffs.

       Second, Plaintiffs—including both the individual Plaintiffs and the members of the

associational plaintiffs—continue to face compliance costs stemming “from the Hobson’s choice

… [to] continue to exercise ownership and constitutional rights while risking federal prosecution

or forfeit those rights to avoid civil and criminal consequences.” ECF 36 at 18 (emphasis in

original). Complying with Defendants’ illegal interpretation of the law would deprive Plaintiffs of

the use and enjoyment of their property and would entail economic costs that likely cannot be

recovered. As this Court recognized, “[t]hreats that lead an individual to surrendering FRTs …

often lack compensation after the fact for the deprived use and enjoyment of the surrendered

                                                  24
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 29 of 36 PageID 1214



weapons (assuming the weapons are ever returned).” ECF 36 at 18 (citing VanDerStok v. Garland,

625 F.Supp.3d 570, 584 (N.D.Tex. Sept. 2, 2022).

        In response, Defendants first cite to Opulent Life Church v. City of Holy Springs for the

proposition that “[t]he lengthy delay between ATF’s determination and Plaintiff’s action in

seeking declaratory relief demonstrates a lack of irreparable harm.” Opp. at 16 (citing 697 F.3d

279, 297 (5th Cir. 2012)).

        There are at least two problems with this argument.

        First, Defendants tellingly omit that Opulent Life Church considered and rejected the

argument that plaintiff waited too long to claim an irreparable harm, stating “[w]hether frivolous

or not” the argument that plaintiff’s “‘long litigation delay’ suggests it is not suffering irreparable

harm” “is unconvincing on these facts.” 697 F.3d at 297. This is hardly a ringing endorsement that

the Court must reject Plaintiffs’ claims of irreparable harm based on Defendants’ conclusory

claims that the passage of time between the adoption of Defendants’ incorrect interpretation and

today means there is no harm. See Opp. at 16. Rather, it suggests the Court should evaluate harm

on the facts before it.

        Second, Opulent Life Church reiterated that “[t]he loss of [constitutionally protected]

freedoms, for even minimal periods of time, unquestionable constitute irreparable injury.” 697

F.3d at 295 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). This is true even when the right

at issue is merely statutory, rather than, as here, constitutional. See Opulent Life Church, 697 F.3d

at 295 (“This principle applies with equal force to the violation of [the Religious Land Use and

Institutionalize Persons Act].”).

        As described above, Plaintiffs have stated several ways they will be irreparably harmed in

the absence of a preliminary injunction, including through the credible threat of enforcement,



                                                  25
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 30 of 36 PageID 1215



economic compliance costs, and the loss of the use and enjoyment of their firearms, contrary to

their Second and Fifth Amendment rights.

        Next, Defendants effectively reiterate their claims concerning a credible threat of

prosecution to deny that Plaintiffs face irreparable harm. See Opp. at 16-17. As set forth above,

these claims are unavailing. Plaintiffs need not wait for Defendants to bring an actual prosecution

to vindicate their rights.

        Defendants also claim “there is no irreparable harm from a hypothetical seizure of

Plaintiffs’ property” as “[a]ny seized property could be returned via a forfeiture action or some

other proceeding.” Opp. at 17. But this argument completely ignores that any seizure deprives

Plaintiffs of the use and enjoyment of their property. See ECF 36 at 18 (“Threats that lead to an

individual surrendering FRTs … often lack compensation after the fact for the deprived use and

enjoyment of the surrendered weapons.” (citing VanDerStok, 625 F.Supp.3d at 584). It also blinks

reality: the chance that Defendants would leave what they consider dangerous “machineguns”

intact to be restored to the owners via process of law is miniscule.

        Finally, Defendants claim “Plaintiffs have not shown that individuals who are not parties

to this lawsuit will suffer irreparable harm absent a preliminary injunction.” Opp. at 17-18. But

Defendants do not (and cannot) explain why the harm analysis would be different for any other

person who currently owns a forced reset trigger. Each and every one is faced with the same

Hobson’s choice that forms the basis of standing for the individual plaintiffs.

        Perhaps recognizing this defect in their argument, Defendants move on to distinguishing

persons who wish to make “future purchases” from current FRT owners. Opp. at 18. While it is

true that future purchasers would not face the same economic compliance costs, they would still

face other non-pecuniary harms. For example, they would still be forced to forego purchasing an



                                                 26
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                  Page 31 of 36 PageID 1216



FRT or risk criminal and civil enforcement proceedings. They would also still be compelled to

forego the use and enjoyment of an FRT. Defendants are using the threat of criminal prosecution

to illegally persuade individuals to give up property under duress.

       Plaintiffs will suffer irreparable harm in the absence of a preliminary injunction.

IV.    The balance of harms weighs in favor of a preliminary injunction.
       Defendants continue to offer no plausible explanation for their incoherent enforcement

position. Defendants continue to claim that they do not generally pursue enforcement actions

against individual FRT owners, particularly if the individual has not violated other gun laws. See

Opp. at 13 (“ATF, meanwhile, has focused its enforcement efforts against large-scale

manufactures and distributors of FRTs”); Opp. at 14 (claiming “[n]one of those other defendants

was charged solely for possessing a FRT”). Yet, Defendants also continue to claim that individuals

who own FRTs, including the three named plaintiffs in this case, pose a substantial threat to public

safety, in part because “they … cannot guarantee they will not in the future violate other gun laws.”

See Opp. at 19. These positions are irreconcilable and self-defeating.

       If Plaintiffs (or anyone else) violate other gun laws, they can be charged with violating

those other laws. If the only individuals Defendants bring enforcement actions against are those

who violate other gun laws and are charged with violating other gun laws, then the prohibition on

FRTs does no work to protect the public. It is neither a necessary nor sufficient condition for

protecting the public safety, but rather merely an extra charge Defendants tack on after they have

determined an individual is a danger for other reasons and after they have brought other charges

against them. This is hardly sufficient to sway the balance of harms in Defendants’ favor.

       More broadly, Defendants offer no specific causal arguments to explain how the public

would be harmed by a preliminary injunction. Instead, they offer conclusory claims of “public

safety” and cite to cases addressing “the possession and transfer of machine guns.” Opp. at 18

                                                 27
    Case 4:23-cv-00830-O Document 47 Filed 09/22/23                            Page 32 of 36 PageID 1217



(quoting Aposhian v. Barr, 958 F.3d 969, 991 (10th Cir. 2020)).4 But this begs the question. FRTs

are not machineguns. If Plaintiffs are likely to succeed on the merits (they are) which asks the

Court to determine that FRTs are not machineguns, then the argument that machineguns pose a

threat to public safety is a non sequitur. “Public safety” is never a justification for enforcing an

illegal interpretation of a criminal statute.

           On the other side of the ledger are law-abiding FRT owners. As detailed above, they will

be irreparably harmed if they are not able to possess and buy FRTs. The balance of harms favors

entry of a preliminary injunction.

V.         Defendants’ argument based on principles of equity would allow the
           government to arrest and prosecute citizens for actions that are not crimes.
           Next, Defendants claim that the Court should decline to issue an injunction based on

principles of equity. Opp. at 20. Specifically, Defendants claim that equitable relief to enjoin

criminal enforcement can only be granted in response to a constitutional claim to vindicate

constitutional rights. Opp. at 20. But Defendants offer little to support this bold proposition, citing

only a single case, Stolt-Nielsen, S.A. v. United States, 442 F.3d 177 (3d Cir. 2006). While Stolt-

Nielsen has some broad language arguably consistent with Defendants’ thesis, the facts of the case

render it inapposite. In Stolt-Nielsen, the plaintiff sued to enforce a conditional leniency agreement

with the government that the government purported to revoke as a consequence of plaintiff’s

behavior. The dispute at the heart of Stolt-Nielsen was thus fundamentally an individualized

determination. It did not concern the validity of a generally applicable law.

           And Defendants’ position would yield absurd results. Defendants do not and could not

challenge the Court’s authority to enter a declaratory judgment ruling finding that FRTs are not

machineguns and may not be prohibited by administrative fiat. Instead, Defendants argue that,


4
    Tellingly, Aposhian upheld the same “bump stock” ban that the Fifth Circuit struck in Cargill.

                                                           28
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23                   Page 33 of 36 PageID 1218



even if that is true, Defendants should still be allowed to arrest and prosecute people for possessing

them. This is a recipe for blatant Due Process violations. The executive branch cannot arrest and

prosecute people for things that are not crimes, and it does not violate the separation of powers for

the Court to say as much. See generally Franciscan Alliance, 47 F.4th at 378 (“[A]n agency

‘literally has no power to act … unless and until Congress authorizes it to do so by statute.’”

(quoting Fed. Election Comm’n v. Cruz, 142 S.Ct. 1638, 1649 (2022)).

       Third, Defendants once again beg the question of whether an FRT is a “machinegun” in

order to elide Plaintiffs’ Second Amendment rights. To wit, Defendants claim “[t]he Second

Amendment does not protect machineguns.” Opp. at 21. This argument does no work in this case

because the primary merits question is whether FRTs are machineguns (they aren’t).

       Finally, Defendants reject the Court’s prior citation to the APA, claiming “the APA’s

general conferral of authority to review certain agency actions and to grant interim relief has no

bearing on whether the particular equitable remedy sought here is available.” Opp. at 21. But

Defendants’ bold statement would create an exception that swallows the rule and runs counter to

the text and purpose of the APA itself.

       “[T]he Administrative Procedure Act’s ‘generous review provisions’ must be given a

‘hospitable’ interpretation.” Abbott Laboratories v. Gardner, 387 U.S. 136, 140 (1967) (quoting

Shaughnessy v. Pedreiro, 349 U.S. 48, 51 (1955)). The APA itself refers to “mandatory or

injunctive decree[s]” issued thereunder. 5 U.S.C. § 702. The import of this text is that injunctive

relief is available under the APA. Moreover, the entire purpose of section 702 is to ensure that “[a]

person suffering a legal wrong because of agency action” is able to obtain an appropriate remedy.

5 U.S.C. § 702. This purpose would be eviscerated if it turns out that section 702 conferred no

right to obtain meaningful relief through the courts when wronged by agency action.



                                                 29
    Case 4:23-cv-00830-O Document 47 Filed 09/22/23                           Page 34 of 36 PageID 1219



         In Federalist 47, James Madison warned “[t]he accumulation of all powers, legislative,

executive and judiciary, in the same hands . . . may justly be pronounced the very definition of

tyranny.” James Madison, The Federalist No. 47 (Jan. 30, 1788). The crux of this case is that the

executive branch has improperly usurped legislative authority by enacting criminal prohibitions

that are beyond the scope of its legislatively granted authority. Now, Defendants seek to arrogate

unto themselves the judicial authority as well by placing their actions beyond the reach of pre-

enforcement judicial review. This is not and cannot be correct.

VI.      Enjoining all applications of Defendants’ invalid interpretation is the
         appropriate remedy.
         “[V]acatur of an agency action is the default rule in this circuit.” Cargill, 57 F.4th at 472;5

see also Franciscan Alliance, 47 F.4th at 374-75 (“Vacatur is the only statutorily prescribed remedy

for a successful APA challenge to a regulation.”). Defendants’ interpretation functions in practice

like a regulation. Vacating the agency’s action in this case would mean preventing Defendants

from seeking to enforce an illegal interpretation against anyone. A broad injunction is not only an

appropriate remedy, it is consistent with “the only statutorily prescribed remedy” for an invalid

regulatory interpretation. Defendants’ arguments to the contrary are unavailing.

         First, Defendants claim that since Plaintiffs are private owners, they would not be harmed

by a series of enforcement actions directed at manufacturers and sellers of forced reset triggers.

This ignores Plaintiffs claim that, but for Defendants’ unlawful interpretation, they would buy

additional forced reset triggers. It takes two to engage in a voluntary transaction. The ability to buy

additional triggers is severely undermined if manufacturers and sellers still face a credible threat




5
  Defendants cite Cargill for the proposition “broad relief was not necessarily appropriate even at final judgment.”
Opposition at 24. This misses the forest for the trees. Cargill expressly noted that vacatur is the default rule in the
Fifth Circuit. It went on remand the case to the district court to determine the scope of the appropriate remedy because
“the parties have not briefed the remedial-scope question.” Cargill, 57 4th at 472.

                                                          30
    Case 4:23-cv-00830-O Document 47 Filed 09/22/23                         Page 35 of 36 PageID 1220



of enforcement for selling FRTs to Plaintiffs.

        Second, Defendants rehash their conclusory arguments that the Associational Plaintiffs

lack standing. For the reasons set forth above, see supra at 23-27, these arguments are unavailing.

The National Association for Gun Rights and Texas Gun Rights have associational standing and

thus the ability to pursue appropriate remedies for their members.

        Third, Defendants claim that any appropriate injunctive relief should be limited to the

Northern District of Texas. First, this ignores the “default rule” of this circuit to vacate invalid

rules. Second, it ignores the practical reality that not all Plaintiffs reside in the Northern District

of Texas. Plaintiff Carey lives in Louisiana. A remedy that is limited to just the Northern District

of Texas is no remedy at all for Plaintiff Carey. Similarly, Texas Gun Rights has members across

the state of Texas, not just in the Northern District, and the National Association for Gun Rights

has members across the country, including at least two additional members who live outside the

Northern District of Texas and report receiving warning letters from Defendants threatening

criminal consequences for owning FRTs. Vindicating the rights of the specific Plaintiffs before

the court requires a remedy that extends beyond the Northern District of Texas.6




6
  Defendants claim that Plaintiffs’ requested remedy would “prevent[] the government from pursing its action against
Rare Breed Triggers.” Opposition at 24. This is false. Plaintiffs’ proposed remedy would prevent Defendants from
taking new enforcement actions. It would have no direct impact on the fraud charges that have already been brought
and are already being litigated in that action.

                                                        31
 Case 4:23-cv-00830-O Document 47 Filed 09/22/23     Page 36 of 36 PageID 1221



Date: September 22, 2023                  Respectfully submitted,

                                          /s/ Whitney A. Davis
                                          Whitney A. Davis (TX Bar No. 24084843)
                                          Ben Sley (TX Bar No. 18500300)
                                          EGGLESTON KING DAVIS, LLP
                                          102 Houston Avenue, Suite 300
                                          Weatherford, TX 76086
                                          Telephone: (703) 748-2266
                                          whit@ekdlaw.com
                                          ben@ekdlaw.com

                                          Jonathan M. Shaw (VA Bar No. 98497)
                                          Gary M. Lawkowski (VA Bar No. 82329)
                                          David A. Warrington (VA Bar No. 72293)
                                          DHILLON LAW GROUP, INC.
                                          2121 Eisenhower Avenue, Suite 608
                                          Alexandria, VA 22314
                                          Telephone: (703) 748-2266
                                          Facsimile: (415) 520-6593
                                          jshaw@dhillonlaw.com
                                          glawkowski@dhillonlaw.com
                                          dwarrington@dhillonlaw.com

                                          Glenn Bellamy (OH Bar No. 0070321)
                                          WOOD HERRON & EVANS
                                          600 Vine Street, Suite 2800
                                          Cincinnati, OH 45202
                                          Telephone: 513-707-0243
                                          gbellamy@whe-law.com




                                     32
